                              Case 23-11388-CTG                        Doc 1        Filed 09/07/23            Page 1 of 14

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                    Delaware
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                      Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             Off Lease Only LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used              Off Lease Only Inc.; Off Lease Only; Offleaseonly.com; Car Squad; Used Cars For Less;
                                              ______________________________________________________________________________________________________
      in the last 8 years                      UsedCar4Less
                                              ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___ 0 – ___
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                                                             0 ___
                                                                7 ___
                                                                   3 4     5
                                                                      ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                            of business

                                              1200 S. Congress Ave.
                                              ______________________________________________                _______________________________________________
                                              Number     Street                                             Number     Street

                                              ______________________________________________                _______________________________________________
                                                                                                            P.O. Box

                                              Palm   Springs              FL       33406
                                              ______________________________________________                _______________________________________________
                                              City                              State     ZIP Code          City                      State      ZIP Code


                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                                Palm Beach County
                                              ______________________________________________
                                              County                                                        _______________________________________________
                                                                                                            Number     Street

                                                                                                            _______________________________________________

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                                                                                                            City                      State      ZIP Code




 5.   Debtor’s website (URL)                    www.offleaseonly.com
                                              ____________________________________________________________________________________________________




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
                              Case 23-11388-CTG                 Doc 1        Filed 09/07/23             Page 2 of 14

Debtor         Off Lease Only LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 4 ___
                                                    1 ___
                                                       1

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                                Case 23-11388-CTG                Doc 1       Filed 09/07/23            Page 3 of 14

Debtor           Off Lease Only LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an                            See attached Schedule 1
                                          Yes. Debtor _____________________________________________               Affiliate/Parent
                                                                                                     Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
                             Case 23-11388-CTG                    Doc 1         Filed 09/07/23            Page 4 of 14

Debtor      Off Lease Only LLC
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                          09/07/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Leland Wilson
                                             _____________________________________________                  Leland Wilson
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Executive Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
                          Case 23-11388-CTG                      Doc 1           Filed 09/07/23              Page 5 of 14

Debtor
              Off Lease Only LLC
            _______________________________________________________                              Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Laura Davis Jones
                                          _____________________________________________                      Date         09/07/2023
                                                                                                                          _________________
                                          Signature of attorney for debtor                                                MM     / DD / YYYY



                                             Laura
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                                             __ ____ Davis
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                                         City                                                                    State        ZIP Code

                                           (302)
                                            302) 778-6401
                                                   778
                                         ____________________________________                                     ljones@pszjlaw.com
                                                                                                                 __________________________________________
                                         Contact phone                                                           Email address



                                          2436
                                         ______________________________________________________ DE
                                                                                                ____________
                                         Bar number                                             State


 19. Signature of attorney
                                       /s/ Brian S. Rosen
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 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 5
               Case 23-11388-CTG          Doc 1     Filed 09/07/23      Page 6 of 14




                                             Schedule 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11
of title 11 of the United States Code in the United States Bankruptcy Court for the District of
Delaware. The Debtors have filed a motion requesting that the chapter 11 cases of these entities
be consolidated for procedural purposes only and jointly administered under the number assigned
to the chapter 11 case of Off Lease Only, LLC.

       Off Lease Only LLC

       Off Lease Only Parent LLC

       Colo Real Estate Holdings LLC
Case 23-11388-CTG   Doc 1   Filed 09/07/23   Page 7 of 14
Case 23-11388-CTG   Doc 1   Filed 09/07/23   Page 8 of 14
Case 23-11388-CTG   Doc 1   Filed 09/07/23   Page 9 of 14
Case 23-11388-CTG   Doc 1   Filed 09/07/23   Page 10 of 14
                                  Case 23-11388-CTG                Doc 1        Filed 09/07/23              Page 11 of 14


      Fill in this information to identify the case:

                   Off Lease Only LLC, et al.
      Debtor name __________________________________________________________________

                                                                                  Delaware
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated, total claim amount and deduction for value of
                                                                             services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff

1    Spirit Realty                           2727 N. Harwood St               Landlord or Real       None                                               $5,624,007.13
                                             Dallas, TX, 75201                Property Lease

                                             Ph: (972) 476-1900

     M&E Holdings                           1740 Overseas Highway            Loan                                                                       $5,282,233.45
2                                                                                                    None
                                            Marathon, FL, 3305



     Cerberus Technology Solutions           875 Third Avenue 14th Floor      Professional           None                                               $2,936,615.30
3                                                                             Services
                                             New York, NY, 10022

                                             Ph: (212) 891-2100

      Cerberus Operations and Advisory      875 Third Avenue 14th Floor       Professional           None                                                $555,763.28
4                                                                             Services
      Company                               New York, NY, 10022

                                            Ph: (212) 891-2100


5      Dent Wizard                           Po Box 7410241                   Trade Debts            None                                               $417,980.00
                                             Chicago, IL, 60674

                                             Ph: (800) 336-8949

      Google                                 Po Box 883654                     Trade Debts           None                                               $311,364.19
6
                                             Los Angeles, CA, 90088

                                             Ph: (650) 253-0000

                                             1900 Firman Drive Suite 700      Trade Debts           None                                                $260,429.90
7      Ownershield
                                             Richardson, TX, 75081

                                             Ph: (800) 242-7316

8      Warranty Solutions                   7125 W. Jefferson Ave Ste 200      Trade Debts           None                                               $236,129.27
                                            Lakewood, CO, 80235

                                            Ph: (800) 828-1392




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
                                  Case 23-11388-CTG                 Doc 1        Filed 09/07/23              Page 12 of 14


    Debtor            Off Lease Only LLC, et al.
                     _______________________________________________________                       Case number (if known)_____________________________________
                     Name




     Name of creditor and complete           Name, telephone number, and     Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code     email address of creditor       (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                             contact                         debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                             professional           unliquidated, total claim amount and deduction for value of
                                                                             services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if   Deduction for      Unsecured
                                                                                                                    partially         value of           claim
                                                                                                                    secured           collateral or
                                                                                                                                      setoff

9     Shift Operations, LLC                  290 Division St Ste#400           Trade Debts           None                                                $236,000.00
                                             San Francisco, CA
                                             94103
                                             Ph: (562) 600-6990

      Florida Engineering &                  12076 Nw 98th Ave Hialeah         Trade Debts                                                               $159,988.50
10
                                             Gardens, FL, 33018                                      None
      Development Corp.
                                             Ph: (305) 820-8333

11    Classic Norman & Company Inc           13401 McCormick Drive             Trade Debts           None                                                $127,152.67
                                             Tampa, FL, 33626

                                             Ph: (813) 855-8300

12    700Credit                              P.O. Box 101015                   Trade Debts            None                                               $75,341.03
                                             Pasadena, CA
                                             91189
                                             Ph: (866) 273-3848

13     Ocean Detailing USA Management        3112 Jupiter Park Circle          Trade Debts           None                                                $70,626.66
                                             Jupiter, FL
                                             33458
                                             Ph: (561) 688-1777

      Cargurus                               P.O. Box 419008                                         None                                                $62,400.01
14                                                                             Trade Debts
                                             Boston, MA, 02241

                                             Ph: (800) 227-4878

       Outfront Media                        185 Us Hwy 46                                           None                                               $61,118.52
15                                                                             Trade Debts
                                             Fairfield, NJ, 07004

                                             Ph: (973) 575-6900

16    De Lage Landen Financial               P.O. Box 41602 Philadelphia,      Trade Debts           None                                                $59,268.28
      Services, Inc.                         PA, 19101

                                             Ph: (800) 736-0220

17     Carfax Inc.                           16630 Collection Center Drive     Trade Debts           None                                                $56,988.04
                                             Chicago, IL, 60693

                                             Ph: (800) 274-2277

      Autozone Inc.                          P.O. Box 116067                                         None                                                $56,091.10
18                                           Atlanta, GA, 30368                Trade Debts

                                             Ph: (407) 277-5483


19    Axiom Product Administration           1 Progress Point Parkway          Trade Debts           None                                                $47,522.00
                                             O'Fallon, MO, 63368

                                             Ph: (844) 252-0937

20    Criteo Corp.                           Po Box 392422 Pittsburgh,         Trade Debts           None                                                $46,310.08
                                             PA, 15251

                                             Ph: (857) 991-1880




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
                   Case 23-11388-CTG              Doc 1      Filed 09/07/23        Page 13 of 14




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 ) Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           ) Case No. 23-_____ (___)
                                                           )
                               Debtors.                    ) (Joint Administration Requested)
                                                           )

                        CONSOLIDATED CORPORATE OWNERSHIP
                   STATEMENT AND LIST OF EQUITY SECURITY HOLDERS

             Pursuant to Rules 1007(a)(1) and 7001.1 of the Federal Rules of Bankruptcy Procedure,

the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state as follows:

             1.     Debtor Off Lease Only Parent LLC, whose address is 1200 S. Congress Ave., Palm

Springs, FL 33406, is 80% owned by Cerberus Off Lease Only LLC, whose address is 875 Third

Avenue, 10th Floor, New York, NY, 10022, and 20% owned by M&E OLO Holdings, Inc, whose

address is 1740 Overseas Highway Marathon, FL, 33050.

             2.     Debtor Off Lease Only LLC, whose address is 1200 S. Congress Ave., Palm

Springs, FL 33406, is 100% owned by Off Lease Only Parent LLC, whose address is 1200 S.

Congress Ave., Palm Springs, FL, 33406.

             3.     Colo Real Estate Holdings LLC, whose address is 1200 S. Congress Ave., Palm

Springs, FL 33406, is 100% owned by Off Lease Only Parent LLC, whose address is 1200 S.

Congress Ave., Palm Springs, FL, 33406.




1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate Holdings LLC
    (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress Ave., Palm
    Springs, FL, 33406.
                                 Case 23-11388-CTG                Doc 1           Filed 09/07/23               Page 14 of 14

 Fill in this information to identify the case and this filing:


              Off Lease Only LLC
 Debtor Name __________________________________________________________________

                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                      Consolidated Corporate Ownership Statement; Creditor Matrix
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    09/07/2023
        Executed on ______________                          /s/ Leland Wilson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Leland Wilson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
